      Case 1:23-cv-11053-GHW-JW Document 70 Filed 05/15/24 Page 1 of 5




                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK

TRISURA INSURANCE COMPANY          §
                                   §
                       Plaintiff,  §                       ANSWER TO COMPLAINT
                                   §
            vs.                    §                       Civil Action No. 23-cv-11053
                                   §
BIGHORN CONSTRUCTION AND           §
RECLAMATION, LLC; BIGHORN          §
INVESTMENTS AND PROPERTIES,        §
LLC; BIGHORN SAND & GRAVEL LLC; §
BRIDGELINK COMMODITIES LLC;        §
BRIDGELINK ENGINEERING LLC;        §
BRIDGELINK INVESTMENTS, LLC;       §
BRIDGELINK RENEWABLE ENERGY        §
DEVELOPMENT LLC; BRIDGELINK        §
RENEWABLE ENERGY INVESTMENTS §
LLC; INTERMOUNTAIN ELECTRIC        §
SERVICE, INC.; COLE WAYNE JOHNSON §
CORD HENRY JOHNSON;                §
CASSIE HAMILTON,                   §
                                   §
                       Defendants. §


TO THE HONORABLE JUDGE OF SAID COURT:

       In accordance with Rule 26(a)(1) of the Federal Rules of Civil Procedure, Bighorn

Construction And Reclamation, LLC; Bighorn Investments And Properties, LLC; Bighorn Sand

& Gravel LLC; Bridgelink Commodities LLC; Bridgelink Engineering LLC; Bridgelink

Investments, LLC; Bridgelink Renewable Energy Development LLC; Bridgelink Renewable

Energy Investments LLC; Intermountain Electric Service, Inc.; Cord Henry Johnson; Cassie

Hamilton, (collectively, the “Defendants”), make these disclosures as follows:

       1.     Name, address, and phone number of each individual likely to have knowledge
of discoverable information that the disclosing party may use to support its claims or
defenses, unless solely for impeachment, identifying the subjects of information.

       RESPONSE
Case 1:23-cv-11053-GHW-JW Document 70 Filed 05/15/24 Page 2 of 5




Jicarilla Solar 1 LLC
Fazli Qadir
621 West Randolph St
Chicago, IL 60661
312-902-4719
FQadir@HecateEnergy.com

Jicarilla Solar 1 LLC
Cristi Thomas, P.E., Head of Engineering and Construction
c/o Repsol Services Company
2455 Technology Forest Boulevard
The Woodlands, TX 77381

Trisura Insurance Company
Martin Moss
1411 Opus Place, Suite 450
Downers Grove, IL 60515

Trisura Insurance Company
Stuart Detsky
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stuart.detsky@trisura.com

Trisura Insurance Company
George James, Chief Underwriter
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Repsol Renewable NA
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The Woodlands, TX 77381
Federico.toro@repsoleyg.com
(832)-461-2002

Repsol Renewable
Chad Campbell
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                                      2
      Case 1:23-cv-11053-GHW-JW Document 70 Filed 05/15/24 Page 3 of 5




       The Woodlands, TX 77381
       Phone: 832‐695‐9194
       Chad.Campbell@repsol.com

       Vertex Company Inc
       Andrew Brouwer
       abrouwer@vertexeng.com

       Vertex Company Inc
       William McConnell
       wmcconnell@vertexeng.com

       Cord Johnson
       C/O Vikesh Patel
       Kearney, McWilliams & Davis, PLLC
       55 Waugh #150
       Houston, Texas 77007
       713-936-9620 ext 107
       vpatel@kmd.law

        2.     A copy of, or a description by category and location of, all documents, data
compilations, and tangible things in the possession, custody, or control of the party and that
the disclosing party may use to support its claims or defenses, unless solely for impeachment.

       RESPONSE

          •   Solar Power Facility Engineering, Procurement And Construction Agreement –
              underlying agreement between Bridgelink Engineering LLC and Jicarilla Solar.
          •   Bonds documents and agreements listing Trisura Insurance Company as the surety,
              Bridgelink Engineering LLC as the Contractor, and Jicarilla Solar 1, LLC as the
              Owner.
          •   All correspondence and documents exchanged regarding the draw-down of the
              bond in question.
          •   All communications with Repsol Renewable regarding performance under the
              underlying Construction Agreement.

       3.    A computation of any category of damages claimed by the disclosing party,
making available for inspection and copying as under Rule 34 the documents or other
evidentiary material, not privileged or protected from disclosure, on which such


                                              3
      Case 1:23-cv-11053-GHW-JW Document 70 Filed 05/15/24 Page 4 of 5




computation is based, including materials bearing on the nature and extent of injuries
suffered.

       RESPONSE

          •   $24,465,404.00 the compensation due under the Solar Power Facility Engineering,
              Procurement And Construction Agreement

      4.      For inspection and copying as under Rule 34 any insurance agreement under
which any person carrying on an insurance business may be liable to satisfy part or all of a
judgment which may be entered in the action or to indemnify or reimburse for payments
made to satisfy the judgment.

       RESPONSE

       Not Applicable.



                                                 KEARNEY, MCWILLIAMS & DAVIS


                                                 By: /s/Vikesh N. Patel
                                                        Vikesh N. Patel
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                                                        TXSBN: 24124350
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                                                        Attorney for Defendants
                                                        Pending Admission Pro Hac Vice




                                             4
       Case 1:23-cv-11053-GHW-JW Document 70 Filed 05/15/24 Page 5 of 5




                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on this 15th day of May 2024, a true and correct copy
of the foregoing instrument was served on all parties and counsel of record in accordance with the
Rules of Civil Procedure.


                                                            /s/Vikesh Patel
                                                            Vikesh Patel




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